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                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                                                                                   September 13, 2024
                         UNITED STATES DISTRICT COURT
                                                                                    Nathan Ochsner, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

MATTHEW THOMAS DEARMOND III,                   §
    Plaintiff,                                 §
                                               §
v.                                             §        CIVIL ACTION NO. 4:24-CV-1812
                                               §
SELECT PORTFOLIO SERVICING, INC.,              §
ANGEL OAK MORTGAGE SOLUTIONS,                  §
LLC, AND WILMINGTON SAVINGS FUND               §
SOCIETY (FSB),                                 §
     Defendants.                               §

                                          ORDER

        Plaintiff has filed a Motion Requesting Rescheduling of Motions for Leave to

Amend Pleadings.1         ECF 14.      The Motion does not include a Certificate of

Conference as required by Local Rule of the Southern District of Texas 7.1(D). It is

therefore ORDERED that Plaintiff’s Motion (ECF 14) is STRICKEN from the

record for failure to comply with the Local Rules of the Southern District of Texas.




     Signed on September 13, 2024, at Houston, Texas.



                                                                Christina A. Bryan
                                                           United States Magistrate Judge


1
 The District Judge referred this case to the undersigned Magistrate Judge pursuant to 28 U.S.C.
§ 636(b)(1)(A) and (B), the Cost and Delay Reduction Plan under the Civil Justice Reform Act,
and Federal Rule of Civil Procedure 72. ECF 3.
